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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        EL PASO DIVISION

   IN RE:                                      §
                                               §
   THE GATEWAY VENTURES,LLC,                   §       Case No. 21-30071-hem
                                               §       Chapter 7
           Debtor.                              §

                   NOTICE OF STIPULATION FOR AN EXTENSION OF TIME
   TO OBJECT OR OTHERWISE RESPOND TO WESTAR INVESTORS GROUP,LLC'S
    MOTION TO VACATE AMENDED AND RESTATED SPECIAL WARRANTY DEED
                               FILED BY THE DEBTOR(RE; dkt# 502)


   TO THE HONORABLE H. CHRISTOPHER MOTT,U.S. BANKRUPTCY JUDGE:

            COMES NOW WESTAR INVESTORS GROUP,LLC ("Westar"), and files this Notice

   of Stipulation for an Extension of Time to Object or Otherwise Respond to Westar Investors

   Group, LLC's Motion to Vacate Amended and Restated Special Warranty Deed Filed by the

   Debtor (the "Motion to Vacate"; dkt# 502) and hereby gives notice that Westar, by and through

   its counsel, has agreed to provide proposed counsel for Michael Dixson an additional ten (10)

   days to object or otherwise respond to the Motion to Vacate.

            The same extension applies to the Trustee and his counsel whose retention has not yet

   been approved.

            Please take notice ofthe new response deadline of September 30,2023.

            WHEREFORE, WESTAR INVESTORS GROUP, LLC, prays the Court take notice of

   this stipulation to object or otherwise respond to Westar Investors Group, LLC's Motion to

   Vacate Amended and Restated Special Warranty Deed Filed by the Debtor on or before

   September 30,2023, and for such other relief as is just.




   {12889.l/HDAV/07008192.1}
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           DATED this          day of September, 2023.

                                               GORDON DAVIS JOHNSON & SHANE P.C.
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                                               El Paso, Texas 79912
                                               (915)545-1133
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                                               By: _L
                                                         Harrel L. Davis 111
                                                         State Bar No. 05567560
                                                         hdavis@eplawvers.com
                                                         Attorneys for Westar Investors Group,LLC


                                    CERTIFICATE OF SERVICE


           I certify that on the   ^day of September, 2023, a true and correct copy of the above
   and foregoing was served upon the attached list of parties via electronic means as listed on the
   Court's ECF noticing system or by regular first-class mail:


                                                           1
                                                         Harrel L. Davis




   {12889.1/HDAV/07008192.1}
